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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


    SYMBOLOGY INNOVATIONS LLC,

              Plaintiff,
                                               C.A. No. 1:18-cv-00879-MEH
         v.
                                               TRIAL BY JURY DEMANDED
    OTTER PRODUCTS, LLC‚

              Defendants.


     PLAINTIFF SYMBOLOGY INNOVATIONS LLC’S OPPOSITION TO DEFENDANT
      OTTER PRODUCTS, LLC’S MOTION TO DISMISS FOR FAILURE TO STATE A
                                 CLAIM
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     I.   NATURE AND STAGE OF THE PROCEEDINGS

          Symbology Innovations LLC’s (“SI”) filed this lawsuit on April 13, 2018 alleging the

   infringement U.S. Patent Nos. 8,424,752 (the “’752 patent”); 8,651,369 (the “’369 patent”);

   8,936,190 (the “’190 patent”) (collectively the “Patents-in-Suit”). In response, Otter Products,

   LLC (“OtterBox” or “Defendant”) filed a Motion to Dismiss SI’s complaint for failure to state

   claim under Federal Rule of Civil Procedure 12(b)(6) (the “Motion to Dismiss”) on May 31, 2018.

    II.   SUMMARY OF THE ARGUMENT

          OtterBox alleges that the Patents-in-Suit are purportedly invalid under Section 101 of the

   Patent Act. See Dkt. No. 13 at p. 6. Particularly, OtterBox incorrectly contends that the claims are

   directed to the abstract idea of data recognition and retrieval. Id. A more thorough analysis of the

   Patents-in-Suit demonstrates that OtterBox is mistaken. Contrary to OtterBox’s contentions, the

   claims of the Patents-in-Suit are directed to improvements in computer-related technology as

   discussed by the Federal Circuit in Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1334 (Fed. Cir.

   2016).The technology covered by the Patents-in-Suit improves the manner in which an electronic

   device processes symbology associated with an object through the performance of particular steps

   in order to provide information about the object to a user of the device. As such, the claims are not

   directed to an abstract idea; but rather address a specific issue within computer technology. In

   particular, the technology covered by the Patents-in-Suit enhanced existing portable devices with

   the information retrieval software applications described therein. Accordingly, the combination of

   steps and/or functionalities recited by the claims of the Patents-in-Suit resulted in the enhancement

   or improvement of electronic devices at the time of the invention.

          In any event, SI is filing an Amended Complaint concurrently with this opposition to the

   Motion to Dismiss including additional allegations which taken as true, would directly affect the



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   district court's patent eligibility analysis and prevent the court from resolving the eligibility

   question as a matter of law which taken as true, would directly affect the district court's patent

   eligibility analysis and prevent the court from resolving the eligibility question as a matter of law.

   See Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1126–27 (Fed. Cir. 2018)

   (“We have held that patentees who adequately allege their claims contain inventive concepts

   survive a § 101 eligibility analysis under Rule 12(b)(6).”)

          In view of the foregoing and the reasons set forth below the Court should deny OtterBox’s

   Motion to Dismiss.

   III.   THE PATNETS-IN-SUIT

          The Patents-in-Suit are similar in scope and disclose systems and methods for enabling a

   portable electronic device to retrieve information about an object—such as an article of commerce,

   product, service, or any item associated with various types of symbology—when the object's

   symbology is detected. In the Complaint, SI asserted claims 1, 5 and 6 of each of the Patents-in-

   Suit, each of which include similar limitations and as such, are similar in scope (collectively

   referred to as the “Asserted Claims”).

          The Patents-in-Suit address and solve a problem existent within computer technology at

   the time of the invention. Namely, improving the manner in which an electronic device processes

   symbology associated with an object through the performance of particular steps and provides

   information about the object to a user of the device, thus making existing electronic devices at the

   time of the invention more dynamic and efficient. See ‘752 patent, 1:65-2:16. Moreover, the

   claimed systems and methods allow for the automatic detection of symbology; alerting a user

   whether symbology has been detected; and asking whether decoding of the symbology is desired.

   See ‘752 patent, 11:25-34. As noted in the specification, portable devices at the time of the



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   invention could be “enhanced with software applications to enable information retrieval

   procedures as described in the present disclosures.” Id. at 3:50-55. As such, the claimed methods

   and systems covered by the Patents-in-Suit address and overcome a particular problem within

   computer technology. Defendant uses such methods and systems and as such, infringes the Patents-

   in-Suit.

              It is worth noting that neither the parent patent nor the continuation applications claiming

   priority to the Patents-in-Suit (collectively, the “Patent Family”), were rejected under 35 U.S.C. §

   101 as being directed to patent-ineligible subject matter during the corresponding prosecution. See

   Exhibits A-H – Office Actions for each member of the Patent Family. The claims covered by the

   Patent Family are generally similar in scope and were filed between 2010 and 2017. In total, the

   Patent Family comprises seven applications that have matured into patents; and one application

   that is currently pending. None were rejected as being directed to an abstract idea. This is

   compelling and persuasive evidence from the United States Patent and Trademark Office that the

   Patents-in-Suit are not directed to patent ineligible subject matter.

              By focusing of individual components of the claims OtterBox contends that the Patents-in-

   Suit do nothing more than suggest the use of conventional components to perform generic

   functions in the place of a human. See Dkt. No. 13 at p. 6. As discussed below, however, taken

   together as an ordered combination, the claims recite an invention that is neither routine nor

   conventional.

   IV.        APPLICABLE LAW
       A. Motion to Dismiss for Failure to State a Claim

          Under Rule 12(b)(6), a plaintiff's “[f]actual allegations must be enough to raise a right to

   relief above the speculative level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). That

   is, the “complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief

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   that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550

   U.S. at 570).

          A claim has facial plausibility when the pleaded factual content allows the court to draw

   the reasonable inference that the defendant is liable for the misconduct alleged. Ashcroft, 556 U.S.

   at 678). In other words, plausibility should not be treated as a “probability requirement at the

   pleading state; it simply calls for enough fact[s] to raise a reasonable expectation that discovery

   will reveal” the defendant is liable for the misconduct alleged. In re Bill of Lading Transmission

   & Processing Sys. Patent Lit., 681 F.3d 1323, 1341 (Fed. Cir. 2012) (quoting Twombly, 550 U.S.

   at 556).

          Patent eligibility can be determined at the Rule 12(b)(6) stage. Aatrix Software, 882 F.3d

   at 1125 (citations omitted). This is true only when there are no factual allegations that, taken as

   true, prevent resolving the eligibility question as a matter of law. As the Federal Circuit has

   explained, “plausible factual allegations may preclude dismissing a case under § 101 where, for

   example, ‘nothing on th[e] record ... refutes those allegations as a matter of law or justifies

   dismissal under Rule 12(b)(6).’” FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089, 1097

   (Fed. Cir. 2016) (quoting Bascom Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d

   1341, 1352 (Fed. Cir. 2016)). If there are claim construction disputes at the Rule 12(b)(6) stage,

   the court must proceed by adopting the non-moving party's constructions, Bascom, 827 F.3d at

   1352; or the court must resolve the disputes to whatever extent is needed to conduct the § 101

   analysis, which may well be less than a full, formal claim construction. Aatrix Software, 882 F.3d

   at 1125 (citations omitted).




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      B. Patent Eligibility under 35 U.S.C. § 101

          Section 101 of the Patent Act defines the subject matter eligible for patent: “Whoever

   invents or discovers any new and useful process, machine, manufacture, or composition of matter,

   or any new and useful improvement thereof, may obtain a patent therefor, subject to the conditions

   and requirements of this title.” See 35 U.S.C. § 101. The judicially recognized exceptions from

   this provision are for “[l]aws of nature, natural phenomena, and abstract ideas.” Alice Corp. Pty.

   v. CLS Bank Int'l, 134 S.Ct. 2347, 2354 (2014) (citing Association for Molecular Pathology v.

   Myriad Genetics, Inc., 133 S.Ct. 2107, 2116 (2013)). These exceptions represent “the basic tools

   of scientific and technological work.” Alice, 134 S.Ct. at 2354 (quoting Ass'n for Molecular

   Pathology, 133 S.Ct. at 2116). The rationale behind these exceptions is “one of pre-emption”

   grounded on the “concern that patent law not inhibit further discovery by improperly tying up the

   future use of these building blocks of human ingenuity.” Id. However, the Supreme Court has

   cautioned unequivocally that “we tread carefully in construing this exclusionary principle lest it

   swallow all of patent law” because “[a]t some level, all inventions ... embody, use, reflect, rest

   upon, or apply laws of nature, natural phenomena, or abstract ideas.” Id.

          In Alice, the Supreme Court set forth a two-part test for patent eligibility. Id. at 2355. First,

   the court determines whether the claims at issue are directed towards an abstract idea. Id. If so,

   then the court asks “what else is there in the claims before us?” Id. To answer the question, the

   court considers “the elements of each claim both individually and as an ordered combination to

   determine whether the additional elements transform the nature of the claim into a patent-eligible

   application.” Id. This second step is the search for an “inventive concept,” or some element or

   combination of elements sufficient to ensure that the claim in practice amounts to “significantly




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  more” than a patent on an ineligible concept. Id.; see also DDR Holdings, LLC v. Hotels.com, L.P.,

  773 F.3d 1245, 1255 (Fed. Cir. 2014).

         In determining whether the claims are directed to an abstract idea, the Supreme Court has

  recognized, that “fundamental economic practice[s],” Bilski v. Kappos, 561 U.S. 593, 611 (2010),

  “method[s] of organizing human activity,” Alice, 134 S. Ct. at 2356, and mathematical algorithms,

  Gottschalk v. Benson, 409 U.S. 63, 64 (1972), are abstract ideas. See also, DDR Holdings, LLC,

  773 F.3d at 1256. Courts have also found that processes that can be “performed mentally” or that

  are “equivalent of human mental work” are directed to abstract ideas. See CyberSource Corp. v.

  Retail Decisions, Inc., 654 F.3d 1366, 1373 (Fed.Cir.2011); see also Chamberlain Grp., Inc. v.

  Linear LLC, 114 F. Supp. 3d 614, 626 (N.D. Ill. 2015). At this step, “the claims are considered in

  their entirety to ascertain whether their character as a whole is directed to excluded subject matter.”

  McRO, Inc. v. Bandai Namco Games Am. Inc., 837 F.3d 1299, 1312 (Fed. Cir. 2016) (citing Internet

  Patents Corp. v. Active Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015)).

         In McRO the Federal Circuit unequivocally stated: “We have previously cautioned that

  courts must be careful to avoid oversimplifying the claims by looking at them generally and failing

  to account for the specific requirements of the claims.” Id. at *7 (citing In re TLI Commc'ns LLC

  Patent Litig., 823 F.3d 607, 611 (Fed. Cir. 2016)). Importantly, the “mere recitation of a generic

  computer cannot transform a patent-ineligible abstract idea into a patent-eligible invention” but

  this is not “a license to delete all computer-related limitations from a claim and thereby declare it

  abstract.” Perdiemco, LLC v. Industrack LLC, No. 2:15-CV-1216-JRG-RSP, 2016 WL 5719697,

  at *5 (E.D. Tex. Sept. 21, 2016), report and recommendation adopted, No. 2:15-CV-727-JRG,

  2016 WL 5475707 (E.D. Tex. Sept. 29, 2016) (quotations and citations omitted). Importantly,

  claims are not directed to an abstract idea if the claimed subject matter does not preempt the use



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  of the abstract idea on the Internet or on generic computer components performing conventional

  activities. Bascom, 827 F.3d at 1352.

         Similarly, claims “purport[ing] to improve the functioning of the computer itself,” or

  “improv[ing] an existing technological process” are not drawn to abstract ideas, Alice, 134 S. Ct.

  at 2358-59; see also Enfish, 822 F.3d at 1335. Additionally, the Federal Circuit has recognized

  that patent claims are not directed to an abstract idea where “the focus of the claims is on the

  specific asserted improvement in computer capabilities ..., [rather than] on a process that qualifies

  as an ‘abstract idea’ for which computers are invoked merely as a tool.” Enfish, 822 F.3d at 1336.

  “If the claims are not directed to an abstract idea, the inquiry ends. McRO, Inc. v. Bandai Namco

  Games Am. Inc., supra.

         At Alice step two, courts determine whether the claims encompass “significantly more”

  than the abstract idea. At this step, courts also look at whether the claims “merely recite the

  performance of some business practice known from the pre-Internet world along with the

  requirement to perform it on the Internet” or whether “the claimed solution is necessarily rooted

  in computer technology in order to overcome a problem specifically arising in the realm of

  computer networks.” DDR Holdings, LLC, 773 F.3d at 1257.

         In other words, even if the claims are directed to abstract concepts they may still be patent-

  eligible when the claim limitations “are not necessary or obvious tools” that pre-empt or preclude

  the use of other solutions in the technological field. California Inst. of Tech. v. Hughes Commc'ns

  Inc., 59 F. Supp. 3d 974, 994 (C.D. Cal. 2014). Furthermore, “[t]he inventive concept inquiry

  requires more than recognizing that each claim element, by itself, was known in the art.” Bascom,

  827 F.3d at 1350. That is, “an inventive concept can be found in the non-conventional and non-

  generic arrangement of known, conventional pieces.” Id.



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     C. Burden of proof of patent invalidity

         Patents are entitled to a presumption of validity. See 35 U.S.C. § 282. Pursuant to the Patent

  Act, the party asserting the invalidity of a patent or any claim thereof bears the burden of proof.

  Id. For this reason, a party arguing that a patent claims ineligible subject matter under 35 U.S.C. §

  101 must prove this by clear and convincing evidence. See Microsoft Corp. v. i4i Ltd. P'ship, 564

  U.S. 91, 95 (2011); see also, Wolf v. Capstone Photography, Inc., No. 2:13-CV-09573, 2014 WL

  7639820, at *5 (C.D. Cal. Oct. 28, 2014) (“[P]rior to claim construction, a patent claim can be

  found directed towards patent ineligible subject matter if the only plausible reading of the patent

  must be that there is clear and convincing evidence of ineligibility.”) (quotations and citations

  omitted); DataTern, Inc. v. Microstrategy, Inc., No. CV 11-11970-FDS, 2015 WL 5190715, at *7

  (D. Mass. Sept. 4, 2015); 01 Communique Lab., Inc. v. Citrix Sys., Inc., 151 F. Supp. 3d 778, 787

  (N.D. Ohio 2015); Front Row Techs., LLC v. NBA Media Ventures, LLC, No. CIV 10-0433

  JB/SCY, 2016 WL 5404094, at *32 (D.N.M. Aug. 30, 2016).

   V.    ARGUMENT

     A. The Patents-in-Suit are directed to Patent Eligible Subject Matter

         OtterBox incorrectly argues that the asserted claims of the Patents-in-suit fail both steps of

  the Alice test because each claim is purportedly directed to an abstract idea, and the claims lack

  any inventive concept sufficient to confer patent eligibility. See Dkt. No. 13 at p.11. As discussed

  below, however, the Patents-in-Suit are directed to improvements in computer-related technology

  and, as such, are not directed to an abstract idea. As discussed below, however, both arguments

  are incorrect.

         a) Step 1: The Asserted Claims are not drawn to an abstract idea

         OtterBox contends that the Asserted Claims, and in particular claim 6 of the Patents-in-

  Suit, purportedly amount to nothing more than recognizing one piece of information retrieve other

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  information and as such, exemplify abstract subject matter under Section 101. See Dkt. No. 13 at

  p. 12 In particular, Otterbox argues that the claims seek to achieve nothing more than a logical,

  generic, functional step, such as would be performed by a conventional computer or by an

  individual human. Id. at p. 14. This argument, however, oversimplifies the technology covered by

  the Patents-in-Suit. Under the two-part test for determining patent eligibility a court must “first

  determine whether the claims at issue are directed to a patent-ineligible concept.” Alice, 134 S.Ct.

  at 2355. If that threshold determination is met, the court must “consider the elements of each claim

  both individually and ‘as an ordered combination’ to determine whether the additional elements

  ‘transform the nature of the claim’ into a patent-eligible application.” Id.

         It must be noted that the Patents-in-Suit are not directed to the type of subject matter that

  has been invalidated by courts under 35 U.S.C. § 101. For instance, claim 1 of the Patents-in-

  Suit—which is the claim from which claim 6 indirectly depends from—is not directed to a

  fundamental economic practice, a method of organizing human activity, or a mathematical

  algorithm. Moreover, the limitations of the Asserted Claims cannot be performed mentally and are

  not the “equivalent of human mental work.” See CyberSource Corp., 654 F.3d at 1373. For

  example, a human mind cannot decode symbology associated that is with an object in order to

  obtain a decode string using one or more visual detection applications residing on the portable

  electronic device; send the decode string to a remote server for processing; and receive information

  about the object from the remote server wherein the information is based on the decode string of

  the object. Instead, the Patents-in-Suit are directed to solving a problem within computer

  technology at the time of the invention which cannot be done by a person. As previously noted,

  the subject matter claimed by the Patents-in-Suit improves the manner in which an electronic

  device automatically retrieves and decodes information from a symbol that is associated with an



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  object in order for said information to be displayed on the electronic device. See ‘752 patent, 1:65-

  2:16.

          OtterBox contends the Asserted Claims are directed to the detection, decoding, and

  handling of data, and reacting to a user’s input in response, as performed by known technologies.

  See Dkt. No. 13 at p. 15. However, such characterization is too broad and oversimplifies the claims

  since the claims are not directed to any of those actions individually. Such oversimplification omits

  the combination of steps that allow an electronic device to automatically detect a symbol and

  decode it into information about an object that is subsequently displayed on the device, as recited

  in the claims. See Asserted Claims. As noted by the U.S. Supreme Court in Alice, describing the

  claims at such a high level of abstraction and untethered from the language of the claims all but

  ensures that the exceptions to § 101 swallow the rule. See Alice, 134 S.Ct. at 2354 (noting that “we

  tread carefully in construing this exclusionary principle [of laws of nature, natural phenomena, and

  abstract ideas] lest it swallow all of patent law”).

          Furthermore, as explained by the Federal Circuit “the ‘directed to’ inquiry … cannot

  simply ask whether the claims involve a patent-ineligible concept, because essentially every

  routinely patent-eligible claim involving physical products and actions involves a law of nature

  and/or natural phenomenon…” Enfish, 822 F.3d at 1335. “Rather, the ‘directed to’ inquiry applies

  a stage-one filter to claims, considered in light of the specification, based on whether ‘their

  character as a whole is directed to excluded subject matter.’” Id. In Enfish, the Federal Circuit also

  noted that claims are not directed to an abstract idea if “the focus of the claims is on the specific

  asserted improvement in computer capabilities ..., [rather than] on a process that qualifies as an

  ‘abstract idea’ for which computers are invoked merely as a tool.” Id. at 1336. Applying that test,

  the Federal Circuit rejected a § 101 challenge because the claims at issue focused on a specific



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  improvement—a particular database technique—in how computers could carry out one of their

  basic functions of storage and retrieval of data.

         Here, the claims do not merely call for a device that captures an image or detects a symbol.

  Rather, the Asserted Claims—and particularly claim 1 of the Patents-in-Suit—require an

  electronic device to detect symbology within an image; send symbology information to the

  appropriate applications residing on the electronic device for decoding; decode the symbology to

  obtain a decode string; send the decode string to a server configured to identify one or more objects

  associated with the symbology; determine the object associated with the symbology using the

  decode string; and then gather information about that object in order to display it to the user of the

  electronic device. See ’752 patent, 3:12-28. Furthermore, the Patents-in-Suit provide for the

  automatic selection of a scanning application upon recognition of symbology. Id. As noted in the

  Patents-in-Suit, existing portable devices could be enhanced with software applications to enable

  information retrieval procedures as described in the Patents-in-Suit. Id. at 3:50-55. Accordingly,

  the combination of the aforementioned steps and/or functionalities—as embodied in claim 1 and

  claims dependent therefrom—resulted in the enhancement or improvement of electronic devices

  at the time of the invention. In other words, it made the existing electronic devices more dynamic

  and efficient. Thus, through the performance of the particular steps recited in claim 1, the Patents-

  in-Suit improve the manner in which an electronic device processes symbology associated with an

  object and provides information about the object to a user of the device. Therefore, the Patents-in-

  Suit represent an improvement to computer capabilities and are note directed to an abstract idea.

         OtterBox further contends that other courts have found similar claims to be patent

  ineligible. See Dkt. No. 13 at p. 15. The cases discussed by OtterBox, however, are distinguishable

  from the case at bar. For example, in Secured Mail Solutions LLC v. Universal Wilde, Inc., 873



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  F.3d 905 (Fed. Cir. 2017) the patents at issue merely involved methods in which a sender affixed

  an identifier on the outer surface of a mail object (e.g., envelope or package) and, as such, the

  Federal Circuit agreed with the district court’s analysis that the claims were directed to an abstract

  idea. Id. at 907-09. Furthermore, the Federal Circuit noted that the claims were not directed to an

  improvement in computer functionality because, for example, the claims were not directed to a

  new barcode format, an improved method of generating or scanning barcodes, or similar

  improvements in computer functionality and that the claims merely generically provided for the

  encoding of various data onto a mail object but did not set out how this is to be performed. Id. at

  p. 910. Here, however, the claims do not require affixing an identifier on the outer surface of an

  envelope or package or merely encoding data onto a mail object; rather the claims set out a method

  in which information is presented about an object on a portable electronic device after the

  performance of specific steps. OtterBox argues that the Asserted Claims merely claim a desired

  result without describing any specific roadmap for doing so, see Dkt. 13 at p. 17, but the Asserted

  Claims require the performance of particular steps before information is displayed on an electronic

  device; steps which as discussed above, result in the improvement and enhancement of portable

  devices at the time of the invention. As such Secured Mail is distinguishable from the case at bar.

         Additionally, OtterBox relies on Content Extraction & Transmission LLC v. Wells Fargo

  Bank, Nat. Ass'n, 776 F.3d 1343, 1347 (Fed. Cir. 2014) to contend that the Asserted Claims are

  directed to an abstract idea. See Dkt. No. 13 at p. 16. In that case the Federal Circuit agreed with

  the district court that the claims at issue were “drawn to the abstract idea of 1) collecting data, 2)

  recognizing certain data within the collected data set, and 3) storing that recognized data in a

  memory” and indicated that the “concept of data collection, recognition, and storage [was]

  undisputedly well-known […]” since “humans [had] always performed these functions.” Id. After



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  all, banks had “for some time, reviewed checks, recognized relevant data such as the amount,

  account number, and identity of account holder, and stored that information in their records.” Id.

  As such, the Federal Circuit concluded that the claims were “drawn to the basic concept of data

  recognition and storage.” Id. In the case at bar however, the claims are not directed to “functions”

  that have always been performed by humans or banks as in Content Extraction. For example,

  humans cannot automatically detect symbology associated with an object within an image, decode

  the symbology to obtain a decode string, send the decode string to a remote server for processing,

  receive information about the object from the server based on the decode string of the object and

  display the information, as recited in the Asserted Claims. In other words, unlike banks reviewing

  checks and storing the information for their records (i.e., data recognition and storage), the claimed

  steps are not “functions” that have been historically performed by humans. As such, the claims are

  not directed to an abstract idea as OtterBox contends.

         Lastly, it should be noted that the elements of the Asserted Claims, both individually and

  as an ordered combination, must be considered to determine whether the claims recite an invention

  that is not merely routine or conventional. See DDR Holdings, 773 F.3d at 1259. Here, the ordered

  combination of the steps recited in the Asserted Claims requires the performance of steps, which

  as discussed above, result in the improvement and enhancement of portable devices at the time of

  the invention. Thus, the Asserted Claims are not directed to an abstract idea.

         Since the Asserted Claims focus on a specific improvement to computer capabilities the

  Patents-in-Suit are not directed to an abstract idea as OtterBox contends. See Enfish, 822 F.3d at

  1335-39 (In which the Court asked whether the focus of the claims is on the specific asserted

  improvement in computer capabilities or instead on a process that qualifies as an “abstract idea”




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  for which computers are invoked merely as a tool.) As such, OtterBox contention that the Patents-

  in-Suit are directed to an abstract idea must be rejected.

         b) The Remaining Claims are not Directed to an Abstract Idea

         OtterBox argues in conclusory fashion that the remaining claims of the Patents-in-Suit are

  also directed to the abstract idea of data recognition and retrieval. See Dkt. 13 at pp. 17-18. But

  aside from providing legal conclusions devoid of any support—such as indicating that the

  remaining claims only recite insignificant pre- or post-solution activity—OtterBox does not show

  by clear and convincing evidence that all remaining claims are directed to an abstract idea. See

  Microsoft Corp., 564 U.S. at 95; see also, Wolf, 2014 WL 7639820, at *5 (“[P]rior to claim

  construction, a patent claim can be found directed towards patent ineligible subject matter if the

  only plausible reading of the patent must be that there is clear and convincing evidence of

  ineligibility.”) Thus, OtterBox’s argument as to the remaining claims must be stricken from their

  Motion to Dismiss for inadequate pleading.

         c) Step 2: Claim 1 recites an inventive concept

         In addition, OtterBox’s Motion to Dismiss fails because the claims recite an inventive

  concept. As previously noted, at this step courts also look at whether the claims “merely recite the

  performance of some business practice known from the pre-Internet world along with the

  requirement to perform it on the Internet” or whether “the claimed solution is necessarily rooted

  in computer technology in order to overcome a problem specifically arising in the realm of

  computer networks.” DDR Holdings, LLC, 773 F.3d at 1257.

         The Asserted Claims, and particularly claim 1, are not drawn to a business practice known

  from the pre-Internet world along with a requirement to perform it on the Internet. On the contrary,

  claim 1 represent an improvement to computer capabilities, as discussed above. OtterBox argues

  that the Asserted Claims do not recite an inventive concept. See Dkt. No. 13 at p. 19. Particularly,
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  OtterBox argues that the specification for the Patents-in-Suit “describes the use of conventional,

  well-known components and processes to accomplish the steps of the asserted claims, from the

  claimed portable electronic device, and extending through the application performing any

  processing and to the symbology itself.” Id. However, this does not represent “a license to delete

  all computer-related limitations from a claim and thereby declare it abstract.” Perdiemco, LLC,

  supra (quotations and citations omitted). OtterBox forgets that the Alice Court advised that it “tread

  carefully in construing this exclusionary principle lest it swallow all of patent law.” Alice, 134

  S.Ct. at 2354. Under OtterBox’s overbroad and general interpretation, nearly all inventions would

  be invalid under 35 U.S.C. § 101.

         Furthermore, OtterBox’s analysis is improper because it focuses on the individual

  components recited in the Asserted Claims to reach the conclusion that the claimed components

  do not improve the functioning of the computer itself. See Dkt. 13 at pp. 19-21. In particular,

  OtterBox’s focus on individual components fails to consider the elements of the claims as an

  ordered combination. Individual elements when viewed on their own may not appear to add

  significantly more, but when viewed in combination may amount to significantly more than any

  purported abstract idea. See Alice, 134 S.Ct. at 2355. Viewed as a whole or as an ordered

  combination, the Asserted Claims recite a “specific improvement to the way computers operate”.

  Enfish, 822 F.3d at 1336. As discussed above, through the performance of the particular steps

  recited in the Asserted Claims, and particularly claim 1, the Patents-in-Suit improve the manner in

  which an electronic device processes symbology associated with an object and provides

  information about the object to a user of the device. Thus, contrary to OtterBox’s contention the

  Patents-in-Suit improve the functioning of a computer itself.




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         As noted by the Federal Circuit in Bascom, the inventive concept inquiry requires more

  than recognizing that each claim element, by itself, was known in the art. See Bascom, 827 F.3d at

  1350. The claims in that case were directed to filtering internet content using a remote,

  customizable filter. The Federal Circuit agreed with the district court that that filtering content was

  an abstract idea because it was a longstanding, well-known method of organizing human behavior.

  Id. at 1348. However, the Federal Circuit found the claims eligible under Step 2, stating that they

  recited a non-conventional and non-generic ordered combination of known, conventional pieces.

  Id. at 1350. The Federal Circuit characterized the inventive concept as “the installation of a

  filtering tool at a specific location, remote from the end-users, with customizable filtering features

  specific to each end user.” Id. In particular, Federal Circuit noted that “by taking a prior art filter

  solution […] and making it more dynamic and efficient […], the claimed invention represented a

  ‘software-based invention[ ] that improve[s] the performance of the computer system itself.’” Id.

  at 1351. Here, OtterBox indicates that the point of novelty of the Patents-in-Suit is the result of

  providing a convenient way for scanning barcodes. See DKT. No. 10 at p. 19. This is false. As

  explained above, through the performance of the particular steps recited in claim 1, the Patents-in-

  Suit improve the manner in which an electronic device processes symbology associated with an

  object and provides information about the object to a user of the device, thus making existing

  electronic devices at the time of the invention more dynamic and efficient. Therefore, as in

  Bascom, the specific method recited in claim 1 cannot be said to be conventional or generic.

         OtterBox further argues that the Patents-in-Suit risk preempting “all methods for

  recognizing and retrieving data based on a pattern.” See Dkt. 13 at p. 22. OtterBox’s argument

  exaggerates the scope of the Patents-in-Suit. The Patents-in-Suit would only preempt someone in

  the United States from performing each and every step of the claimed method. After all that is the



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  right that was granted under the patent statute. See 35 U.S.C. § 271. It would not preempt all

  methods of data retrieval or someone who only scanned or decoded a pattern, or someone who

  merely displayed information on a display device. In Bascom the Federal Circuit concluded that

  the claims at issue did not preempt all ways of filtering content on the Internet; rather, they recited

  a specific, discrete implementation of the abstract idea of filtering content. See Bascom, 827 F.3d

  at 1350. In particular, there were no preemption concerns because the patent described how its

  particular arrangement of elements was technical improvement over prior art ways of filtering such

  content. Id. As explained above, through the performance of the particular method recited in claim

  1, the Patents-in-Suit improve the manner in which an electronic device processes symbology

  associated with an object and provides information about the object to a user of the device, thus

  making existing electronic devices at the time of the invention more dynamic and efficient. Thus,

  construed in favor of SI as they must be in this procedural posture, the claims of the Patents-in-

  Suit do not preempt the use of any purported abstract idea on generic computer components

  performing conventional activities. See Bascom, 827 F.3d at 1352.

         In sum, OtterBox did not show by clear and convincing evidence that the Patents-in-Suit

  are invalid; and since the claims are drawn to a patent-eligible inventive concept, OtterBox’s

  Motion to Dismiss must be denied.



  VI.    CONCLUSION
     The Court should deny the Motion to Dismiss because the Patents-in-Suit are not directed to

  an abstract idea, but rather represent an improvement to computer capabilities. Namely, improving

  the manner in which an electronic device processes symbology associated with an object through

  the performance of particular steps in order to provide information about the object to a user of the


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  device, thus making existing electronic devices at the time of the invention more dynamic and

  efficient.

          Thus, for the reasons set forth above, the Motion to Dismiss should be denied.



   Dated: June 13, 2018                          Respectfully Submitted,

                                                 /s/Eugenio J. Torres-Oyola
                                                 Eugenio J. Torres-Oyola
                                                 USDC No. 215505
                                                 Ferraiuoli LLC
                                                 221 Plaza, 5th Floor
                                                 221 Ponce de León Avenue
                                                 San Juan, PR 00917
                                                 Telephone: (787) 766-7000
                                                 Facsimile: (787) 766-7001
                                                 Email: etorres@ferraiuoli.com

                                                 Jean G. Vidal Font
                                                 USDC No. 227811
                                                 Ferraiuoli LLC
                                                 221 Plaza, 5th Floor
                                                 221 Ponce de León Avenue
                                                 San Juan, PR 00917
                                                 Telephone: (787) 766-7000
                                                 Facsimile: (787) 766-7001
                                                 Email: jvidal@ferraiuoli.com

                                                 ATTORNEYS FOR PLAINTIFF
                                                 SYMBOLOGY INNOVATIONS LLC




                                  CERTIFICATE OF SERVICE

  I hereby certify that on June 13, 2018, a true and correct copy of the foregoing document was

  served via CM/ECF to all counsel of record.

                                                       /s/Eugenio J. Torres-Oyola
                                                       Eugenio J. Torres-Oyola


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